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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA               ]
                                       ]
V.                                     ]                       CR. NO. 18-10013-RGS
                                       ]
GARY P. DeCICCO                        ]


        GARY P. DeCICCO’S RESPONSE TO COURT ORDER OF SEPTEMBER 17, 2018

         On September 17, 2018, the parties appeared before Magistrate Judge Judith G. Dein to

address (1) Counsel’s Motion to Withdraw and (2) DeCicco’s Motion to Modify Conditions of

Release and for Leave to Sell Real Estate. The Court took arguments on DeCicco’s request to sell

real estate located at 119 Rear Foster Street, Peabody, Essex County, Massachusetts in order to retain

successor counsel and to satisfy legal obligations incurred in the defense of charges in his June, 2018

trial (17-10092-NMG) that resulted in a jury verdict of “not guilty” on the single count of Hobbs Act

Extortion. At the conclusion of the hearing the Court requested further information relative to the

property, the specific ownership of the property, and any ownership interest that Mr. DeCicco may

have in the property. The Court also invited a suggestion relative to the appointment of an escrow

agent to handle funds from any potential sale. Mr. DeCicco, through counsel, addresses those matters

here.

1. The Property at 119R Foster Street, Peabody

         The property is comprised of one parcel of land described as two lots as shown on a 1977

plan drawn by Northeast Engineering and Survey, Inc. There is a commercial building on the land.

It was formerly used as a leather factory by the previous owner. The property was conveyed to


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Torilin Corporation on December 3, 2016 by the then-owner Michael P. Chiaradonna for a stated

sum of “Two Thousand ($2000.00) Dollars and other good and valuable consideration.” The

conveyance was subject to “all outstanding taxes and mortgage to 58 Pulaski LLC...” The deed is

recorded with Essex South Registry of Deeds at Book 35499, Page 318. The date of recording is

December 5, 2016. A copy of the deed is attached hereto as Exhibit “A”.

2. Torilin Corporation

       Torilin Corporation was organized as a Massachusetts corporation on November 29, 2016.

The Articles of Organization filed with the Massachusetts Secretary of State indicates that the

business in which the corporation intends to engage is “Real Estate Investment and Development”.

       Gary P. DeCicco is listed as the sole officer and director of the corporation. He also is

designated as the registered agent. The address of the registered agent is shown as 58 Pulaski Street,

Suite 101, Peabody, Massachusetts. The address of the corporation at the time of this filing was 119

Rear Foster Street, Peabody, Massachusetts.

       The number of shares of stock authorized by the Articles or Organization is 1,000 at no par

value. No shares of stock have been issued by the corporation as of this date. A copy of the Articles

of Organization on file at the Secretary of State’s Office is attached hereto as Exhibit “B”.

       Two additional relevant corporate filings have been made, each on October 3, 2018. The first

is a Statement of Change of Registered Office Address By Registered Agent. This filing changed the

office address from 58 Pulaski Street, Peabody to 550 Pleasant Street, Winthrop. A copy is attached

as Exhibit “C”.

       The second filing is entitled Statement of Change of Supplemental Information Contained

in Article VIII of Articles of Organization. This filing amended the address of the sole officer and


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director, Gary P. DeCicco, to reflect his current 550 Pleasant Street, Winthrop residential address

as well as his principal office address. A copy is attached as Exhibit “D”.



3. Corporate Authority

       Were a sale of the corporation’s real estate to take place, Gary P. DeCicco, as sole officer and

director, would have the authority to authorize the sale and to direct the proceeds.

4. Escrow Agent:

       The Court requested the defense to consider the appointment of an escrow agent to handle

any potential sale of property and the distribution of proceeds that would follow. Mr. DeCicco is

amenable the appointment of an escrow agent. Counsel has conferred with and proposes Robert L.

Peabody of Jackson|Lewis, Boston https://www.jacksonlewis.com/people/robert-l-peabody to serve

as escrow agent for any transaction that may be authorized by the Court. Mr. Peabody is willing to

so serve.

Respectfully submitted this 4th day of October 2018 on behalf of Gary P. DeCicco.

                                                       By his attorney,

                                                       /s/ James J. Cipoletta
                                                       James J. Cipoletta
                                                       MA Bar No. 084260
                                                       385 Broadway - Suite 307
                                                       Revere, MA 02151
                                                       Telephone 781.289.7777

                                             Certification
I certify that this document, filed through the ECF system, provides electronic copies to the
registered participants as identified on the Notice of Electronic Filing (NEF) and that paper
copies will be sent to those indicated as non-registered participants on this date.

                                                       /s/ James J. Cipoletta


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